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1
2    CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
     Peter A. Schey (Cal. Bar No. 58232)
3
     Carlos Holguín (Cal. Bar No. 90754)
4    256 South Occidental Boulevard
     Los Angeles, CA 90057
5
     Telephone: (213) 388-8693
6    Facsimile: (213) 386-9484
     Email: pschey@centerforhumanrights.org
7
            crholguin@centerforhumanrights.org
8
     ORRICK, HERRINGTON & SUTCLIFFE LLP
9    Elena Garcia (Cal. Bar No. 299680)
10   egarcia@orrick.com
     777 South Figueroa Street, Suite 3200
11   Los Angeles, CA 90017
12   Telephone: (213) 629-2020
13   Attorneys for plaintiffs (listing continues on following page)
14
                           UNITED STATES DISTRICT COURT
15                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17   JENNY LISETTE FLORES, et al.,         )      Case No. CV 85-4544 DMG (AGRx)
                                           )
18          Plaintiffs,                    )      UNOPPOSED APPLICATION FOR
19   - vs -                                )      CONTINUANCE OF STATUS
                                           )      CONFERENCE AND DUE DATE
20   JEFFERSON B. SESSIONS, ATTORNEY       )      FOR PLAINTIFFS’ COMPLIANCE
21   GENERAL OF THE UNITED STATES, et al., )      REPORT RESPONSE
                                           )
22          Defendants.                    )      Hearing: None
23                                    _ )         Time: n/a
                                                  Room: n/a
24
25
26
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28
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2    Plaintiffs’ counsel, continued:
3
     LA RAZA CENTRO LEGAL, INC.
4    Michael S. Sorgen (Cal. Bar No. 43107)
     474 Valencia Street, #295
5
     San Francisco, CA 94103
6    Telephone: (415) 575-3500
7
     THE LAW FOUNDATION OF SILICON VALLEY
8    LEGAL ADVOCATES FOR CHILDREN AND YOUTH
9
     PUBLIC INTEREST LAW FIRM
     Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
10   Katherine H. Manning (Cal. Bar No. 229233)
11
     Annette Kirkham (Cal. Bar No. 217958)
     152 North Third Street, 3rd floor
12   San Jose, CA 95112
13   Telephone: (408) 280-2437
     Facsimile: (408) 288-8850
14   Email: jenniferk@lawfoundation.org
15          kate.manning@lawfoundation.org
            annettek@lawfoundation.org
16
17   Of counsel:

18   YOUTH LAW CENTER
19   Virginia Corrigan (Cal. Bar No. 292035)
     200 Pine Street, Suite 300
20   San Francisco, CA 94104
21   Telephone: (415) 543-3379

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1
           On October 18, 2017, the Court ordered that the Plaintiffs file their response to
2
3
     Defendants’ third set of compliance reports by June 15, 2018. Plaintiffs hereby apply

4    for an order from this Court continuing the status conference from June 29, 2018 to
5
     July 27, 2018, and extending the due date on Plaintiffs’ Response to July 13, 2018.
6
7          Good cause exists for the Court to grant the parties’ request. Plaintiffs request

8    this continuance and extension of time for the reasons set forth in the accompanying
9
     Declaration. Counsel for Plaintiffs’ reached out to counsel for Defendants regarding
10
11   their position on this Application and counsel for Defendants’ responded that

12   Defendants do not oppose this Application.
13
     Dated: June 8, 2018                    Respectfully submitted,
14
                                            CENTER FOR HUMAN RIGHTS &
15                                          CONSTITUTIONAL LAW
                                            Peter A. Schey
16
                                            Carlos Holguín
17
                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
18                                          Elena García
19                                          LA RAZA CENTRO LEGAL, INC.
                                            Michael Sorgen
20
21                                          LAW FOUNDATION OF SILICON VALLEY -
                                            LEGAL ADVOCATES FOR CHILDREN & YOUTH
22                                          Jennifer Kelleher Cloyd
                                            Katherine H. Manning
23                                          Annette Kirkham
24
                                            Of counsel:
25
                                            YOUTH LAW CENTER
26                                          Virginia Corrigan
27
28                                          /s/Peter Schey _____________

                                                1
                                                  PLAINTIFFS’ UNOPPOSED APPLICATION
                                             FOR CONTINUATION CV 85-4544-DMG (AGRX)
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1
2                      DECLARATION OF CLASS COUNSEL, PETER A. SCHEY

3
4    I, PETER A. SCHEY, declare:

5
        1. I	am	one	of	the	lead	Class	Counsel	for	Plaintiffs	in	this	case.	As	such,	I	have	personal	knowledge	
6
            of	the	following	facts	and,	if	called	as	a	witness,	I	could	and	would	testify	competently	thereto.	
7
        2. Plaintiffs	request	the	Court	to	continue	the	status	conference	from	June	29,	2018	to	July	27,	
8
            2018,	and	the	due	date	for	Plaintiffs’	Response	to	the	Compliance	Reports	executed	by	Juvenile	
9
10          Coordinators,	Henry	Moak,	Jr.	and	Deane	Dougherty,	(“Monitoring	Reports”)	from	June	15,	2018	

11          to	July	13,	2018.	Plaintiffs	require	an	extension	of	the	dates	for	the	following	reasons.	

12      3. In	order	to	effectively	respond	to	the	monitors’	reports,	Class	Counsel	wish	to	conduct	on-site	

13          visits	to	detention	facilities	and	interviews	with	class	members	which	will	require	approximately	

14          3	weeks	to	complete.	

15      4. Counsel	for	Plaintiffs’	reached	out	to	counsel	for	Defendants,	asking	for	their	position	on	this	
16          Application	to	move	Plaintiffs’	response	date	to	March	30,	2018.	Counsel	for	Defendants’	has	
17
            informed	the	undersigned	that	Defendants	do	not	oppose	this	application.	
18
19
20   I declare under penalty of perjury that the foregoing is true and correct.

21
22   Executed on June 8, 2018 at Los Angeles, California.
23
24
25                                                           s/Peter Schey
26                                                           Peter Schey
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                                                          PLAINTIFFS’ UNOPPOSED APPLICATION
                                                     FOR CONTINUATION CV 85-4544-DMG (AGRX)
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1
                                     CERTIFICATE OF SERVICE
2
            I, Peter Schey, declare and say as follows:
3
            I am over the age of eighteen years of age and am a party to this action. I am
4
5    employed in the County of Los Angeles, State of California. My business address is

6    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
7           On June 8, 2018, I electronically filed the following document(s):
8
        •   UNOPPOSED APPLICATION FOR CONTINUANCE OF STATUS
9           CONFERENCE AND PLAINTIFFS’ COMPLIANCE REPORT RESPONSE
10   with the United States District Court, Central District of California by using the
11
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
12
     served by the CM/ECF system.
13
14
                                                     /s/Peter Schey

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                                                  PLAINTIFFS’ UNOPPOSED APPLICATION
                                             FOR CONTINUATION CV 85-4544-DMG (AGRX)
